UNITED STATES DISTRICT COURT F | L F D
EASTERN DISTRICT OF TENNESSEE
AT KNOXVILLE 2008 DFC -2 P uy: Sy

U.S. DISTRICT COURT
EASTERN DIST. TENN.

UNITED STATES OF AMERICA )
) BY____DEPT. CLERK
)
v. ) No. 3:08-CR-/ 757
) JUDGE Mihi. Sheeler
CLARK ALAN ROBERTS, and ) Oo
SEAN EDWARD HOWLEY )

MOTION TO SEAL INDICTMENT
Comes the United States of America, by its counsel, D. Gregory Weddle, Assistant United
States Attorney, for the Eastern District of Tennessee, hereby moves to seal the indictment in this
matter until such time as the defendant has made an appearance before this Court.
Respectfully submitted,

JAMES R. DEDRICK
UNITED STATES ATTORNEY

By: Wn. tM.

Dz. Gweort Weddle

Assistant United States Attorney
800 Market Street, Suite 211
Knoxville, Tennessee 37902
(865) 545-4167

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